Case 1:21-cv-24274-CMA Document 32 Entered on FLSD Docket 04/11/2022 Page 1 of 1


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 21-24274-CIV-ALTONAGA

  DAWN MICHELLE FRENCH,

         Plaintiff,
  vs.

  LIFE INSURANCE COMPANY
  OF NORTH AMERICA,
        Defendant.
  ______________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon the Mediation Report [ECF No. 31], filed on

  April 8, 2022, indicating the parties have reached an agreement in this matter. The Court having

  carefully reviewed the file, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file a stipulation for dismissal within sixty (60) days of the date of this Order.

         2. If the parties fail to complete the expected settlement, either party may request the

  Court to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Miami, Florida, this 11th day of April, 2022.



                                                   _______________________________________
                                                   CECILIA M. ALTONAGA
                                                   CHIEF UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
